         Case 2:19-bk-17990-VZ Doc 45 Filed 11/01/19                                Entered 11/01/19 21:30:04                Desc
                             Imaged Certificate of Notice                           Page 1 of 3
                                              United States Bankruptcy Court
                                             Central District of California
In re:                                                                                                     Case No. 19-17990-VZ
Interworks Unlimited Inc.                                                                                  Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0973-2                  User: admin                        Page 1 of 1                          Date Rcvd: Oct 30, 2019
                                      Form ID: pdf042                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Nov 01, 2019.
  NO NOTICES MAILED.

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
db             +E-mail/PDF: eric@interworks-usa.com Oct 31 2019 04:03:38     Interworks Unlimited Inc.,
                 2418 Peck Road,   City of Industry, CA 90601-1604
                                                                                            TOTAL: 1

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Nov 01, 2019                                             Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 30, 2019 at the address(es) listed below:
              David G Skillman    on behalf of Interested Party    Courtesy NEF dskillman@tuttleyick.com
              Edward M Wolkowitz (TR)    emwtrustee@lnbyb.com, ewolkowitz@iq7technology.com
              Harlan M Lazarus    on behalf of Creditor    Digital Gadgets, LLC hlazarus@lazarusandlazarus.com
              James Andrew Hinds, Jr    on behalf of Interested Party    Courtesy NEF jhinds@jhindslaw.com,
               mduran@jhindslaw.com
              James Andrew Hinds, Jr    on behalf of Creditor    Vecron Exim Ltd. jhinds@jhindslaw.com,
               mduran@jhindslaw.com
              Jeffrey L Sumpter    on behalf of Financial Advisor    CBIZ Valuation Group LLC
               jsumpter@epiqtrustee.com, jsumpter@cbiz.com
              Jeffrey L Sumpter    on behalf of Trustee Edward M Wolkowitz (TR) jsumpter@epiqtrustee.com,
               jsumpter@cbiz.com
              Kurt Ramlo     on behalf of Interested Party    Courtesy NEF kr@lnbyb.com, kr@ecf.inforuptcy.com
              Kurt Ramlo     on behalf of Trustee Edward M Wolkowitz (TR) kr@lnbyb.com, kr@ecf.inforuptcy.com
              Michael W Davis    on behalf of Creditor   Digital Gadgets, LLC mdavis@bg.law, ecf@bg.law
              Sandford L. Frey    on behalf of Debtor   Interworks Unlimited Inc. sfrey@leechtishman.com,
               lmoya@leechtishman.com;dmulvaney@leechtishman.com
              Scott H Siegel    on behalf of Interested Party    Courtesy NEF ssiegel@laklawyers.com,
               smcfadden@laklawyers.com;nlessard@laklawyers.com
              Steven N Kurtz    on behalf of Interested Party    Courtesy NEF skurtz@laklawyers.com,
               nlessard@laklawyers.com;smcfadden@laklawyers.com
              United States Trustee (LA)    ustpregion16.la.ecf@usdoj.gov
                                                                                              TOTAL: 14
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 Attorney or Party Name, Address, Telephone & FAX                             FOR COURT USE ONLY
 Nos., State Bar No. & Email Address

 JAMES ANDREW HINDS, JR. (SBN 71222)
 jhinds@jhindslaw.com                                                                                    FILED & ENTERED
 PAUL R. SHANKMAN (SBN 113608)
 pshankman@jhindslaw.com
 RACHEL M. SPOSATO (SBN 306045)                                                                                  OCT 30 2019
 rsposato@jhindslaw.com
 HINDS & SHANKMAN, LLP
                                                                                                           CLERK U.S. BANKRUPTCY COURT
 21257 Hawthorne Blvd., Second Floor                                                                       Central District of California
 Torrance, California 90503                                                                                BY carranza DEPUTY CLERK
 Telephone: (310) 316-0500
 Facsimile: (310) 792-5977
                                                                                                 CHANGES MADE BY COURT
 Attorneys for Creditor: VECRON EXIM LTD


     Movant appearing without an attorney
     Attorney for Movant

                                           UNITED STATES BANKRUPTCY COURT
                                  CENTRAL DISTRICT OF CALIFORNIA ±LOS ANGELES DIVISION

 In re:                                                                       CASE NO.: 2:19-bk-17990-VZ
                                                                              CHAPTER: 7
 INTERWORKS UNLIMITED INC.,
                                                                                      ORDER GRANTING MOTION FOR
                                                                                    RELIEF FROM THE AUTOMATIC STAY
                                                                                           UNDER 11 U.S.C. § 362
                                                                                      (Action in Nonbankruptcy Forum)

                                                                              DATE: October 29, 2019
                                                                              TIME: 10:00 a.m.
                                                                              COURTROOM: 1368
                                                                              PLACE: 255 E. Temple Street
                                                                                      Los Angeles, CA 90012


                                                              Debtor(s).

 MOVANT:         VECRON EXIM LTD


1. The Motion was:                  Opposed              Unopposed               Settled by stipulation

2. The Motion affects the following Nonbankruptcy Action:

Name of Nonbankruptcy Action: Vecron Exim, Ltd. v. Immersive Play Inc., Case No. KC 069 570
    Docket number: Case No. KC 069 570
    Nonbankruptcy court or agency where the Nonbankruptcy Action is pending:
    Superior Court of California, County of Los Angeles, East District

          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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3. Because the Motion is unopposed, the Motion is granted under: 11 U.S.C. § 362(d)(1).

4. As to Movant, its successors, transferees and assigns, the stay of 11 U.S.C. § 362(a) is:
      a.        Terminated as to the Debtor and the 'HEWRU¶Vbankruptcy estate.
      b.        Modified or conditioned as set forth in Exhibit                    to the Motion.
      c.        Annulled retroactively to the bankruptcy petition date. Any postpetition acts taken by Movant to enforce its
                remedies regarding the nonbankruptcy action do not constitute a violation of the stay.

5. Limitations on Enforcement of Judgment: Movant may proceed in the nonbankruptcy forum to final judgment
      (including any appeals) in accordance with applicable nonbankruptcy law. Movant is permitted to enforce its final
      judgment only by (specify all that apply):
      a.        Collecting upon any available insurance in accordance with applicable nonbankruptcy law.
      b.        Proceeding against the Debtor as to property or earnings that are not property of this bankruptcy estate.

6. This order is binding and effective despite any conversion of this bankruptcy case to a case under any other chapter
   of the Bankruptcy Code.

7.         The co-debtor stay of 11 U.S.C. § 1201(a) or § 1301(a) is terminated, modified or annulled as to the co-debtor, on
           the same terms and conditions as to the Debtor.

8.         The 14-day stay prescribed by FRBP 4001(a)(3) is waived.

9.         This order is binding and effective in any bankruptcy case commenced by or against the Debtor for a period of
           180 days, so that no further automatic stay shall arise in that case as to the nonbankruptcy action.
10.        This order is binding and effective in any future bankruptcy case, no matter who the debtor may be, without
           further notice.
11.        Other (specify):




                                                                            ###




                   Date: October 30, 2019




           This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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